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                     UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF PUERTO RICO

MARIA CRUZ CRUZ,
       Plaintiff,
           v.                                CIV. NO. 14-1605 PG)
SAN JUAN ABSTRACT CO; et al.
       Defendants.



                               FINAL JUDGMENT

     WHEREFORE, in light of the joint stipulation for voluntary dismissal

with Prejudice (Docket No. 77), it is hereby ORDERED AND ADJUDGED that all

claims be DISMISSED WITH PREJUDICE, each party to bear its own costs, expenses

and fees. In accordance with the stipulation, this Court shall retain

jurisdiction over this case until compliance with the terms and conditions of

the parties’ agreement is fully attained. Moreover, the parties have agreed

that this judgment shall be final and unappealable from the date of its entry.

     IT IS SO ORDERED AND ADJUDGED.

     In San Juan, Puerto Rico, July 9, 2015.



                                        S/ JUAN M. PÉREZ-GIMÉNEZ
                                        JUAN M. PÉREZ-GIMÉNEZ
                                        UNITED STATES DISTRICT JUDGE
